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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X    Docket No.: 19-cv-09340 (LJL)
BERNARD WILKERSON,

                 Plaintiff,

                                 - against -

METROPOLITAN TRANSPORTATION AUTHORITY,
NEW YORK CITY TRANSIT AUTHORITY, and
RICARDO JOHN, individually,


                  Defendants.
-----------------------------------------------------------------X



                          Plaintiff’s Memorandum of Law in Opposition
                                 to Defendants’ Motion In Limine




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       Plaintiff, Bernard Wilkerson, (“Plaintiff”) by and through his attorneys, Phillips &

Associates, Attorneys at Law, PLLC, respectfully submits this Memorandum of Law in Opposition

to the motions in limine brought by Defendants New York City Transit Authority and Ricardo

John’s (collectively “Defendants”). Plaintiff alleges that Defendants violated Title VII of the Civil

Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e, et. seq., the New York State Human Rights

Law (“NYSHRL”), New York State Executive Law § 290, et. seq., and the New York City Human

Rights Law (“NYCHRL”), New York City Administrative Code §§ 8-107 et seq by failing to

provide a reasonable accommodation for his religion. Defendants now seek to preclude a variety

of potential testimony and evidence in this matter, predominantly on the grounds that Your

Honor’s decision on summary judgment limited the range of issues in the case. As set forth below,

however, Defendants’ motion to preclude Plaintiff from testifying concerning basic aspects of his

case and his employment with Defendants lacks any basis. As set forth below, Defendants are far

short from meeting their burden that the evidence they propose to exclude is “clearly

inadmissible,” and, indeed, some of it potentially speaks to issues at the heart of this matter.

                                         Legal Argument

I. Legal Standard

       "Evidence should be excluded on a motion in limine only when the evidence is clearly

inadmissible on all potential grounds." United States v. Paredes, 176 F. Supp. 2d 179, 181

(S.D.N.Y. 2001); United States v. Pugh, 162 F. Supp. 3d 97, 100 (E.D.N.Y. 2016). The purpose

of a motion in limine is to allow the trial court to rule in advance of trial on the admissibility and

relevance of certain forecasted evidence. See Luce v. United States, 469 U.S. 38, 40 n.2, 105 S. Ct.

460, 83 L. Ed. 2d 443 (1984); Palmieri v. Defaria, 88 F.3d 136, 141 (2d Cir. 1996); Nat'l Union

Fire Ins. Co. v. L.E. Myers Co. Grp., 937 F. Supp. 276, 283 (S.D.N.Y. 1996).



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        Where a movant fails to set forth, with sufficient particularity, the forecasted evidence for

which preclusion is sought, a court has discretion to deny the motion or reserve judgment. See

Wechsler v. Hunt Health Sys., Ltd., 381 F. Supp. 2d 135, 150 (S.D.N.Y. 2003) ("Defendants do

not specify any evidence that they seek to preclude. Therefore, as no certain forecasted evidence

presents itself here for a ruling in limine, defendants' motion is denied."); Nat'l Union Fire Ins.

Co., 937 F. Supp. at 287 (finding that because "[t]his motion in limine lacks the necessary

specificity with respect to the evidence to be excluded" and was otherwise "too sweeping in scope

to be decided in limine" that the appropriate course of action was for the court to "reserve judgment

on the motion until trial when admission of particular pieces of evidence is in an appropriate factual

context"). Courts considering a motion in limine may reserve judgment until trial, so that the

motion is placed in the appropriate factual context. See Nat'l Union, 937 F. Supp. at 287; Jean-

Laurent v. Hennessy, 840 F. Supp. 2d 529, 554 (E.D.N.Y. 2011) ("A federal district court has the

power to exclude evidence in limine only when evidence is clearly inadmissible on all potential

grounds and [u]nless evidence meets this high standard, evidentiary rulings should be deferred

until trial so that questions of foundation, relevancy and potential prejudice may be resolved in

proper context.") (internal citation omitted) (alteration in original), and it remains "[t]he movant['s]

. . . burden of establishing that the evidence is not admissible for any purpose.'").

        "A motion in limine to preclude evidence calls on the court to make a preliminary

determination on the admissibility of the evidence under Rule 104 of the Federal Rules of

Evidence." Allen v. City of New York, 466 F. Supp. 2d 545, 547 (S.D.N.Y. 2006) (citation omitted);

see Fed. R. Evid. 104(a) ("Preliminary questions concerning . . . the admissibility of evidence shall

be determined by the court . . . .") Rule 402 of the Federal Rules of Evidence requires that evidence

be relevant to be admissible. Fed. R. Evid. 402. Relevant evidence is defined as evidence "having



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any tendency to make the existence of any fact that is of consequence to the determination of the

action more probable or less probable than it would be without the evidence." Fed. R. Evid. 401.

Thus, the court's determination of what constitutes "relevant evidence" is guided by the nature of

the claims and defenses presented.

II.    Plaintiff Should Not Be Precluded from Introducing Evidence that Plaintiff
       Received Previous Accommodations

       Plaintiff should not be precluded from testifying concerning his experience of receiving

previous accommodations, which included attendance at previous respirator trainings. Under the

Federal Rules of Evidence, relevant evidence--that is, evidence that has "any tendency to make the

existence of any fact that is of consequence to the determination of the action more probable or

less probable" is "generally admissible." Fed. R. Evid. 401, 402. Rule 401 also requires only that

evidence be probative, not conclusive, on a fact at issue to be relevant. Id.


       Here, Plaintiff’s potential testimony concerning his experience attending respirator

trainings and previous accommodations is basic factual background to the religious

accommodation claim at the heart of this case. The fact that some of these facts could also have

potentially supported a dismissed discrimination provides no independent basis for preclusion.

Because Defendant has not carried their burden and due to the otherwise generalized nature of the

evidence, which would make an in limine ruling inappropriate in the absence of the proper factual

context, the Court should deny this branch of Defendant’s motion.

III.   Plaintiff Should Not Be Precluded from Testifying to Mr. Ricardo John’s Statement

       Mr. John’s statement, “I can’t tell you what religion to practice, but you can’t practice that

there at construction flagging” is probative to remaining contested issues and should not be

precluded. Dkt. No. 47 ¶ 59. As previously mentioned, this court determined there remain triable

issues of fact as to whether alternative accommodations would in fact cause Defendants undue

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hardship. Dkt. No. 49 ¶ 23. Specifically, there remain disputes of fact regarding whether

Defendants could have allowed Plaintiff to remain a construction flagger but on projects that did

not require a respirator. Id. Mr. John’s statement, which suggests that no attempt to find a religious

accommodation or engage in the interactive process would be explored at all, goes directly to a

key issue in the case, and thus is admissible. Thus, the court should also deny this subset of

Defendant’s motion in limine.

IV.    Plaintiff Should Not Be Precluded from Testifying Concerning His Immediate
       Transfer as Platform Conductor

       Plaintiff should not be precluded from testifying concerning his immediate transfer to

platform conductor. Defendant’s decision to immediately transfer Plaintiff to a position with

allegedly lower hourly payand fewer overtime opportunities goes to important issues of whether a

reasonable accommodation was offered and to damages. The speed at which Plaintiff was

transferred is also potentially indicative of Defendants’ lack of inquiry into the most reasonable

accommodation available, one being allowing Plaintiff to remain a construction flagger but on

projects that did not require a respirator. Although Defendants do not appear to dispute that his

transfer is relevant to these issue, Defendants’ request for preclusion is ambiguous; it appears

tailored to testimony by Plaintiff that his assignment was a “punishment” but it is not clear if that

includes Plaintiff’s necessary and relevant testimony that the assignment involved lower pay and

overtime opportunities. Because Defendant has not carried their burden and due to the otherwise

generalized nature of the evidence, which would make an in limine ruling inappropriate in the

absence of the proper factual context, the Court should deny this branch of Defendant’s motion.

V.     Plaintiff Should Not Be Precluded from Contending that Transit Could Have
       Inquired About Acquiring Alternative Respirators

       Plaintiff should not be precluded from testimony that he proposed a PowerAir-Purifying

Respirator (“PAPR”), which could be used with facial hair, as an accommodation that he believed

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would protect him from toxic fumes. Even after Plaintiff’s proposal of this accommodation,

Defendants did not engage with manufacturers until after the events about which Plaintiff brings

this suit to see if there were alternatives to the specific respirator being used. Dkt. No. 43. ¶ 19

(citing Dkt. No. 30 ¶¶ 9– 11). Defendants are still not aware whether there exists a nitrogen dioxide

absorbent cartridge for use with a PAPR, nor does Plaintiff identify that such a cartridge exists. Id.

This evidence is relevant and probative of Defendants’ failure to accommodate as well as the

aiding and abetting of discrimination.

VI.    Plaintiff Should Not Be Precluded from Contending that Transit Transferred his
       Position

       Plaintiff is amenable to referring to Defendant’s transfer of Plaintiff to a position with

lower hourly salary, fewer overtime opportunities, and without the possibility of promotion as a

change in “assignment” or “position,” rather than a change in “title.”


VII.   The Dismissal of Plaintiff’s Claims for Punitive Damages is Inappropriate

       Plaintiff concedes Defendant Transit is not subject to awards of punitive damages under

Title VII or the NYSHRL. However, as Defendants mention in their motion in limine, Defendant

Ricardo John is not shielded from punitive damages under the NYCHRL. Punitive damages are

available for violations of the NYCHRL where the "wrongdoer has engaged in discrimination with

willful or wanton negligence, or recklessness, or a conscious disregard of the rights of others or

conduct so reckless as to amount to such disregard." Chauca v. Abraham, 30 N.Y.3d 325, 334, 67

N.Y.S.3d 85, 89 N.E.3d 475 (2017); see also Thomas v. West, No. 14 CV 4459-LTS, 2019 U.S.

Dist. LEXIS 41700, at *4 (S.D.N.Y. Mar. 14, 2019). Defendants argue that there is no evidence to

support that a jury would be able to award punitive damages in this matter.




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       However, this Court has ruled that arguments as to the parties' evidence on the issue of

punitive damages are misplaced in the motion in limine context. Thomas v. West, No. 14 CV 4459-

LTS, 2019 U.S. Dist. LEXIS 41700, at *5 (S.D.N.Y. Mar. 14, 2019) (“ Defendants are free to raise

the evidentiary sufficiency issue in a motion pursuant to Federal Rule of Civil Procedure 50(a) at

the close of the Plaintiff's case at trial. Accordingly, Defendants' motion in limine to dismiss the

NYCHRL punitive damages claim is denied). As this is not the appropriate forum for a discussion

of the evidentiary strength of punitive damages, this branch of Defendants’ motion should be

denied as to the dismissal of a claim for punitive damages under NYCHRL.


VIII. Minnie Davis Should Not Be Precluded as a Witness

       Defendants argue, incorrectly, that Plaintiff first disclosed proposed witness Minnie Davis

in the Joint Pretrial Order and accordingly should be precluded from testifying. However, Plaintiff

disclosed Minnie Davis, Mr. Wilkerson’s supervisor at the time he requested religious

accommodations, as a potential witness and previous employee of Defendants in its Response to

Defendants’ Interrogatory #9, which requested Plaintiff “[i]dentify every person who plaintiff

intends to call as a fact witness at the trial of this action.” See Exhibit A to the Declaration of

Shawn Clark, Plaintiff’s Responses and Objections to Defendants’ First Set of Interrogatories to

Plaintiff. Mr. Wilkerson also testified to interactions with Ms. Davis at his deposition. Having been

informed in February, well before the close of the discovery period, that plaintiff intended to call

Ms. Davis as a fact witness at trial with no attempt by Defendants to depose her, Defendants’

request for preclusion should be denied.




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                                            Conclusion

       For the foregoing reasons, Plaintiff respectfully requests that Defendants’ motions in limine

be denied.

Dated: New York, New York
       August 11, 2022
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                                                     ATTORNEYS AT LAW, PLLC


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cc:    To all counsel of record (via ECF)




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